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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9   STATE OF WASHINGTON, STATE OF                       NO.
     MINNESOTA, STATE OF OREGON,
10   PHYSICIAN 1, PHYSICIAN 2, and                       COMPLAINT FOR DECLARATORY
     PHYSICIAN 3,                                        AND INJUNCTIVE RELIEF
11
                              Plaintiffs,
12
        v.
13
     DONALD J. TRUMP, in his official
14   capacity as President of the United States;
     U.S. DEPARTMENT OF JUSTICE; PAM
15   BONDI, in her official capacity as the
     United States Attorney General;
16   U.S. DEPARTMENT OF HEALTH AND
     HUMAN SERVICES; DOROTHY FINK,
17   in her official capacity as Acting Secretary
     of the U.S. Department of Health and
18   Human Services; U.S. DEPARTMENT OF
     AGRICULTURE; GARY WASHINGTON,
19   in his official capacity as Acting Secretary
     of the U.S. Department of Agriculture;
20   U.S. DEPARTMENT OF COMMERCE;
     JEREMY PELTER, in his official capacity
21   as Acting Secretary of the Department of
     Commerce; U.S. DEPARTMENT OF
22   DEFENSE; PETE HEGSETH, in his official
     capacity of Secretary of Defense;
23   U.S. DEPARTMENT OF EDUCATION;
     DENISE L. CARTER, in her official
24   capacity as the Acting Secretary of
     Education; U.S. DEPARTMENT OF
25   ENERGY; INGRID KOLB, in her official
     capacity as Acting Secretary of the U.S.
26   Department of Energy;


     COMPLAINT FOR DECLARATORY                       1           ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
     AND INJUNCTIVE RELIEF                                            800 Fifth Avenue, Suite 2000
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 1   U.S. DEPARTMENT OF VETERANS
     AFFAIRS; TODD B. HUNTER, in his
 2   official capacity as Acting Secretary of the
     U.S. Department of Veterans Affairs;
 3   NATIONAL AERONAUTICS AND
     SPACE ADMINISTRATION; JANET
 4   PETRO, in her official capacity as the acting
     administrator of the National Aeronautics
 5   and Space Administration; NATIONAL
     SCIENCE FOUNDATION;
 6   SETHURAMAN PANCHANATHAN, in
     his official capacity as Director of the
 7   National Science Foundation; OFFICE OF
     THE DIRECTOR OF NATIONAL
 8   INTELLIGENCE; LORA SHIAO, in her
     official capacity as Director of National
 9   Intelligence; and the UNITED STATES OF
     AMERICA,
10
                                  Defendants.
11

12                                        I.      INTRODUCTION

13          1.         On January 28, 2025, President Trump issued a sweeping Executive Order that

14   targets transgender and gender-diverse youth and their medical providers by trying to cut off

15   access to necessary, often life-saving, health care. The Order attempts to dictate medical care by

16   executive fiat.

17          2.         The Order is a cruel and baseless broadside against transgender youth, their

18   families, and the doctors and medical institutions that provide them this critical care. It is an

19   official statement of bigotry from the President that directs agencies to openly discriminate

20   against vulnerable youth on the basis of their transgender status and sex. It is also a blatant abuse

21   of power. The Order usurps spending and legislative powers belonging exclusively to Congress,

22   and seizes the States’ historic police powers to regulate the practice of medicine in violation of

23   the Tenth Amendment.

24          3.         It cannot stand.

25

26


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 1          4.      The Order, Executive Order 14,187, is titled “Protecting Children from Chemical

 2   and Surgical Mutilation,” but that title is false and repugnant. This Complaint will refer to it

 3   simply as “the Order.”

 4          5.      Relevant to this lawsuit, Section 4 of the Order directs agencies to “immediately”

 5   cut off federal research and education grants to medical institutions, including hospitals and

 6   medical schools, that provide gender-affirming care. Exec. Order No. 14,187, § 4, 90 C.F.R.

 7   8771 § 4. Absent an injunction, the Order will terminate over one billion dollars of federal

 8   funding to the Plaintiff States’ medical schools and hospitals that is used to research and treat

 9   hundreds of conditions having nothing to do with gender-affirming care, including cancer, AIDS,

10   diabetes, substance use disorder, mental health conditions, autism, aging, cardiovascular

11   diseases, maternal health, and so much more.

12          6.      The same Order, through Section 8(a), threatens baseless criminal prosecutions

13   against providers by weaponizing a statute prohibiting female genital mutilation of minors,

14   despite the fact that transgender minors do not receive gender-affirming genital surgery, and

15   despite the statute’s exclusive application to “non-medical” procedures and express exceptions

16   for medical care provided by a licensed practitioner. Id. §§ 8(a)–(b). The Executive Order

17   attempts to redefine non-surgical treatments for minors as “mutilation,” but this is frivolous. The

18   statute has no possible bearing on gender-affirming care. Rather, the Order invokes it solely to

19   sow fear among providers and bully them out of providing gender-affirming care at all.

20          7.      Plaintiff State of Washington, through its instrumentality University of

21   Washington (UW), operates a world class medical school that is part of the integrated health

22   system (UW Medicine). UW Medicine is comprised of multiple separate entities sharing a

23   common mission to improve the health of the public. Physicians who are UW School of

24   Medicine faculty provide gender-affirming medical care to adolescents and adults. UW School

25   of Medicine receives approximately half a billion dollars in federal research and education

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 1   grants, as well as other federal funding. The State of Washington operates the State’s Medicaid

 2   and public health programs covering approximately 1.9 million people.

 3           8.      Plaintiff State of Minnesota’s residents include people who seek medically-

 4   necessary gender-affirming health care for themselves or on behalf of their minor children, as

 5   well as providers of such care. In addition, the State of Minnesota regulates the practice of

 6   medicine within its state, as well as operates the State’s Medicaid and public health programs

 7   providing health care coverage for approximately 1.3 million people. The State of Minnesota

 8   has a strong interest in protecting the rights and abilities of its residents in seeking and providing

 9   medically-necessary care, in preserving its ability to regulate the provision of medical care and

10   the practice of medicine within its border, and in ensuring the operation of its state health

11   insurance and Medicaid programs with coverage for medically-necessary health care services

12   and in accordance with its state laws.

13           9.      Plaintiff State of Oregon oversees and regulates state-created public corporations

14   providing education and health care service functions on behalf of the State of Oregon, as

15   instrumentalities of the State. Within Oregon, the Oregon Health & Science University (OHSU),

16   Oregon State University (OSU), and other state entities and instrumentalities provide gender-

17   affirming care and receive federal grants and federal funding.

18           10.     The Order is immediately effective according to its terms, and it has already been

19   relied on by the Trump Administration to command Plaintiffs to cease performing gender-

20   affirming care and halt research. E.O. 14,187 § 4.

21           11.     The Order also threatens the Physician Plaintiffs and other providers in the

22   Plaintiff States with baseless criminal prosecutions for providing medically appropriate and

23   necessary health care to transgender and gender-diverse patients that is lawful in the Plaintiff

24   States, supported by the overwhelming consensus of medical professionals, and plainly not

25   covered by statute at issue. The Order by itself constitutes a credible threat of criminal

26   enforcement; there is no other way to read it. Further, given the context of President Trump’s


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 1   repeated promises on the campaign trail, and the actions he’s already taken in his first 19 days

 2   in office, the President’s intent to use the Department of Justice to terrorize and criminalize

 3   providers of gender-affirming care and families of youth who receive such care cannot be denied.

 4          12.     The effect of the Order on providers of gender-affirming care, transgender and

 5   gender-diverse people, and their families has been immediate and severe. Providers fear for their

 6   physical and legal safety. And they are afraid to provide medical care that they know is evidence

 7   based, lawful where they practice, and can save their patients’ lives. Indeed, some have already

 8   stopped providing care, feeling compelled to cancel scheduled appointments for fear of federal

 9   law enforcement harassment or loss of medical research and education grants.

10          13.     The Order purports to “protect” youth, but the Order harms them. The Order has

11   already, and will continue, to limit physicians’ ability to treat patients’ gender dysphoria, as well

12   as the unavoidable, grave harm to the health and wellbeing of transgender youth if they are

13   prohibited from receiving necessary medical care, including debilitating anxiety, severe

14   depression, self-harm, and suicide that can accompany untreated dysphoria.

15          14.     The Order is blatantly unconstitutional. It violates the right to Equal Protection

16   guaranteed by the Fifth Amendment to the United States Constitution because it singles out one

17   vulnerable group for mistreatment. It singles out for restriction and criminalization medical

18   treatments that affirm a patient’s gender if inconsistent with that patient’s sex. It is an act of

19   malice against transgender and gender-diverse people, is not supported by an exceedingly

20   persuasive justification (let alone any legitimate government interest), and this Court should

21   declare it unlawful and enjoin Defendants from implementing and enforcing it.

22          15.     The Order also violates constitutional Separation of Powers by usurping

23   Congress’s legislative powers and exclusive power of the purse. None of the federal funding that

24   medical institutions, including UW School of Medicine, OHSU, OSU, and other similarly

25   situated entities receive is conditioned on a promise by the institutions that they would deny

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 1   gender-affirming care to their patients under 19 years of age. Congress has never imposed such

 2   a condition, and it is unconstitutional for the President to do so via executive fiat.

 3          16.     And finally, the Order violates the Tenth Amendment. Regulation of the medical

 4   profession is a core, traditional exercise of the States’ police powers. The President cannot

 5   unilaterally, and without any Congressional authorization whatsoever, interfere with the States’

 6   prerogatives by criminalizing the provision of safe, effective, and necessary medical care.

 7                               II.     JURISDICTION AND VENUE

 8          17.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1346.

 9   This Court has further remedial authority under the Declaratory Judgment Act, 28 U.S.C.

10   §§ 2201(a) and 2202.

11          18.     Venue is proper in the Western District of Washington under 28 U.S.C.

12   §§ 1391(b)(2) and (e)(1) because this is an action against an officer, employee, and/or agency of

13   the United States, the Defendants are residents of the Western District of Washington, and a

14   substantial part of the events or omissions giving rise to this action have occurred in the Western

15   District of Washington.

16                                           III.    PARTIES

17   A.     Plaintiffs

18          19.     Plaintiff State of Washington, represented by and through the Attorney General,

19   is a sovereign state of the United States of America. As an operator of medical facilities that

20   provides gender-affirming medical care and as a recipient of federal research and education

21   grants, Washington is directly subject to the Order through its instrumentality UW and has

22   standing to vindicate its proprietary interests in delivering high-quality, evidence-based patient

23   care and cutting-edge medical research. The Attorney General is Washington’s chief law

24   enforcement officer and is authorized under Wash. Rev. Code § 43.10.030 to pursue this action.

25          20.     Plaintiff State of Minnesota is a sovereign state of the United States of America.

26   Minnesota’s Attorney General, Keith Ellison, is the chief law enforcement officer of Minnesota


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 1   and is authorized under Minnesota Statutes Chapter 8 and has common law authority to bring

 2   this action on behalf of the State and its residents, to vindicate the State’s sovereign and quasi-

 3   sovereign interests, and to remediate all harm arising out of—and provide full relief for—

 4   violations of the law.

 5           21.     Plaintiff State of Oregon, represented by and through its Attorney General, is a

 6   sovereign state of the United States of America. Attorney General Dan Rayfield is Oregon’s

 7   chief law enforcement officer. The State of Oregon created OHSU to provide education and

 8   health care service functions on behalf of the state. OHSU is a public corporation and

 9   instrumentality of the state, and is Oregon’s comprehensive public academic health center.

10   Along with Oregon’s other public universities, OHSU provides gender-affirming medical care

11   and receives federal research and education grants. Oregon is thus subject to the Order through

12   its state universities and instrumentalities and has standing to vindicate its proprietary interest in

13   ensuring its residents receive high-quality, life-saving patient care, medical research, and

14   education.

15           22.     Together, the States of Washington, Minnesota, and Oregon are referred to as the

16   Plaintiff States.

17           23.     Physician Plaintiff 1 is a UW School of Medicine faculty member licensed by the

18   Washington Medical Commission and board certified by the American Board of Pediatrics in

19   Pediatrics and Adolescent Medicine. Physician Plaintiff 1 is an Assistant Professor in the UW

20   School of Medicine, Department of Pediatrics and is an attending physician at a Seattle hospital

21   where they provide gender-affirming medical care to adolescent patients.

22           24.     Physician Plaintiff 2 is a medical doctor licensed by the Washington Board of

23   Medical Examiners and certified by the American Board of Pediatrics in Pediatrics and

24   Endocrinology. Physician Plaintiff 2 is an Assistant Professor in the UW School of Medicine,

25   Department of Pediatrics and is an attending physician at a Seattle hospital where they provide

26   gender-affirming medical care to adolescent patients.


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 1          25.     Physician Plaintiff 3 is a medical doctor licensed by the Washington Board of

 2   Medical Examiners and certified by the American Board of Pediatrics in Pediatrics and

 3   Endocrinology. Physician Plaintiff 3 is an Assistant Professor in the UW School of Medicine,

 4   Department of Pediatrics and is an attending physician at a Seattle hospital where they provide

 5   gender-affirming medical care to adolescent patients.

 6          26.     Together, Physicians 1, 2, and 3 are referred to as the Physician Plaintiffs.

 7          27.     The Plaintiff States and the Physician Plaintiffs are aggrieved by Defendants’

 8   actions and have standing to bring this action because the President’s Executive Order, which

 9   targets federal funding received by the Plaintiff States’ medical institutions pursuant to

10   congressional appropriations and purports to condition that funding on the University’s denying

11   gender-affirming care to people under the age of 19 threatens critical aspects of the States’

12   institutions’ functions and mission. For example, the UW School of Medicine receives

13   $494 million in research and education grants, of which $417 million were received from the

14   United States Department of Health and Human Services. For another example, OHSU received

15   more than $413 million in federal research grants and contracts in 2023, of which National

16   Institutes of Health (NIH) grants and contracts made up $297 million. Under the terms of the

17   Order, at minimum, more than one billion dollars in federal funding is now illegally conditioned

18   on state institutions’ and instrumentalities’ denial of gender-affirming care.

19          28.     The Plaintiff States are also aggrieved in their sovereign capacity. The Order

20   usurps both Congress’s exclusive spending and legislative powers, and the States’ historic police

21   powers to regulate the practice of medicine reserved to States under the Tenth Amendment.

22   Dent v. West Virginia, 129 U.S. 114, 122 (1889) (recognizing the state’s powers to regulate

23   medical professions from “time immemorial”).

24          29.     The Physician Plaintiffs are also aggrieved and have standing because the Order

25   directs the Department of Justice to “prioritize” bad-faith criminal prosecutions based on their

26   provision of necessary medical care that is lawful in the Plaintiff States. Among other things, it


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 1   purports to redefine non-surgical hormonal treatment as genital mutilation based on a frivolous

 2   reading of a federal statute and threatens providers with criminal sanctions. The Order thus

 3   constitutes a credible and imminent threat of criminal prosecution against UW School of

 4   Medicine faculty who provide gender-affirming care. By defunding and threatening to prosecute

 5   gender-affirming care, the Order also forces the Physician Plaintiffs into an impossible choice

 6   between complying with the Order or violating their ethical obligations to their patients to

 7   provide them medically necessary and appropriate care consistent with the standard of care,

 8   which is often gender-affirming care. It also harms the Plaintiff States through their

 9   instrumentalities, including the UW School of Medicine and OHSU, which have faculty

10   physicians and surgeons that provide gender-affirming medical care. It impedes these

11   instrumentalities’ public-health mission by threatening prosecution for providing medically

12   necessary health care. It also impedes their ability to effectively train their medical and surgical

13   fellows and residents in providing this care.

14   B.      Defendants

15           30.     Defendant Donald J. Trump is the President of the United States and is sued in

16   his official capacity.

17           31.     The Department of Justice (DOJ) is an agency of the United States and is

18   responsible for investigating and prosecuting alleged violations of United States criminal law.

19   DOJ has been directed by the Order to investigate and prosecute physicians who provide

20   medically appropriate and necessary gender-affirming care, under a statute that clearly has no

21   application.

22           32.     Defendant Pam Bondi is the Attorney General of the United States and is sued in

23   her official capacity.

24           33.     Defendant U.S. Department of Health and Human Services (HHS) is a federal

25   cabinet agency that provides federal research or education grants to Plaintiff States’ medical

26   institutions, including to UW School of Medicine and OHSU, and is responsible for


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 1   implementing the Order, including by issuing regulations, policies, and guidance consistent with

 2   the Order. HHS includes subagencies the Health Resources and Services Administration and the

 3   National Institutes of Health.

 4          34.     Defendant Dorothy Fink is the Acting Secretary of HHS. She oversees the

 5   research and education grants provided to Plaintiff States’ medical institutions, including to UW

 6   School of Medicine and OHSU, through HHS.

 7          35.     Defendant U.S. Department of Agriculture (USDA) is a federal cabinet agency

 8   that provides research or education grants to Plaintiff States’ medical institutions, including to

 9   UW School of Medicine, and is responsible for implementing the Order, including by issuing

10   regulations, policies, and guidance consistent with the Order.

11          36.     Defendant Gary Washington is the Acting Secretary of USDA. He oversees the

12   research or education grants provided to Plaintiff States’ medical institutions, including to UW

13   School of Medicine, through USDA.

14          37.     Defendant U.S. Department of Commerce (DOC) is a federal cabinet agency that

15   provides research or education grants to Plaintiff States’ medical institutions, including to UW

16   School of Medicine, and is responsible for implementing the Order, including by issuing

17   regulations, policies, and guidance consistent with the Order.

18          38.     Defendant Jeremy Pelter is the Acting Secretary of DOC. He oversees the

19   research or education grants provided to Plaintiff States’ medical institutions, including to UW

20   School of Medicine, through DOC.

21          39.     Defendant U.S. Department of Defense (DoD) is a federal cabinet agency that

22   that provides research or education grants to Plaintiff States’ medical institutions, including to

23   UW School of Medicine, and is responsible for implementing the Order, including by issuing

24   regulations, policies, and guidance consistent with the Order.

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 1          40.     Defendant Pete Hegseth is the Secretary of Defense. He oversees the research or

 2   education grants provided to Plaintiff States’ medical institutions, including to UW School of

 3   Medicine, through DoD.

 4          41.     Defendant U.S. Department of Energy (DOE) is a federal cabinet agency that that

 5   provides research or education grants to Plaintiff States’ medical institutions, including to UW

 6   School of Medicine, and is responsible for implementing the Order, including by issuing

 7   regulations, policies, and guidance consistent with the Order.

 8          42.     Defendant Ingrid Kolb is the Acting Secretary of DOE. She oversees the research

 9   or education grants provided to Plaintiff States’ medical institutions, including to UW School of

10   Medicine, through DOE.

11          43.     Defendant U.S. Department of Veterans Affairs (VA) is a federal cabinet agency

12   that that provides research or education grants to Plaintiff States’ medical institutions, including

13   to UW School of Medicine, and is responsible for implementing the Order, including by issuing

14   regulations, policies, and guidance consistent with the Order.

15          44.     Defendant Todd B. Hunter is the acting Secretary of the VA. He oversees the

16   research or education grants provided to Plaintiff States’ medical institutions, including to UW

17   School of Medicine, through the VA.

18          45.     Defendant National Aeronautics and Space Administration (NASA) is a federal

19   agency that that provides research or education grants to Plaintiff States’ medical institutions,

20   including to UW School of Medicine, and is responsible for implementing the Order, including

21   by issuing regulations, policies, and guidance consistent with the Order.

22          46.     Defendant Janet Petro is the Acting Administrator of NASA. She oversees the

23   research or education grants provided to Plaintiff States’ medical institutions, including to UW

24   School of Medicine, through NASA.

25          47.     Defendant National Science Foundation (NSF) is a federal agency that that

26   provides research or education grants to Plaintiff States’ medical institutions, including to


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 1   UW School of Medicine, and is responsible for implementing the Order, including by issuing

 2   regulations, policies, and guidance consistent with the Order.

 3           48.      Defendant Sethuraman Panchanathan is the Director of NSF. He oversees the

 4   research or education grants provided to Plaintiff States’ medical institutions, including to

 5   UW School of Medicine, through NHTSA.

 6           49.      Defendant Office of the Director of National Intelligence (ODNI) is a federal

 7   agency that that provides research or education grants to Plaintiff States’ medical institutions,

 8   including to UW School of Medicine, and is responsible for implementing the Order, including

 9   by issuing regulations, policies, and guidance consistent with the Order.

10           50.      Defendant Lora Shiao is the Acting Director of ODNI. She oversees the research

11   or education grants provided to Plaintiff States’ medical institutions, including to UW School of

12   Medicine, through ODNI.

13           51.      Defendant the United States of America includes all government agencies and

14   departments responsible for the implementation, modification, and execution of the Order.

15                                     IV.     FACTUAL ALLEGATIONS

16   A.      Gender-Affirming Care is Medically Appropriate and Necessary Health Care

17           52.      Gender-affirming care is health care explicitly protected by laws in the Plaintiff

18   States and is supported by overwhelming medical consensus, including the American Academy

19   of Family Physicians, the American Academy of Pediatrics, the American College of

20   Obstetricians and Gynecologists, the American Medical Association, the American

21   Psychological Association, and the Pediatric Endocrine Society, among others. Gender-

22   affirming care supports the health of transgender and gender-diverse people by helping them to

23   live consistently with their gender identity. 1 Such care is multidimensional and can include

24

25           1
               Plaintiffs use the term “transgender and gender-diverse” to refer inclusively to the population of youth
     targeted by the Order, understanding that the Order impacts youth who are nonbinary, two-spirit, intersex,
26   genderqueer, and genderfluid, among others.


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 1   medication, psychiatric and psychological support, and surgical procedures provided by a range

 2   of medical professionals.

 3          53.     “Gender identity” is the medical term for a person’s internal, innate sense of

 4   belonging to a particular sex. Everyone has a gender identity. A person’s gender identity has a

 5   strong biological basis, but the precise causal mechanism is unknown. Several different factors

 6   including prenatal hormonal exposure, genetic factors, and brain structure may all contribute to

 7   a person’s gender identity. A person’s gender identity cannot be changed by medical or

 8   psychological intervention.

 9          54.     Generally, when a child is born, a health care provider or someone else assigns

10   the child a sex. Usually, the sex assigned at birth is consistent, or congruent, with that person’s

11   gender identity. Other times the sex assigned at birth turns out to be different from, or

12   incongruent with, the person’s innate gender identity. Such individuals are commonly referred

13   to as transgender or gender diverse, but individual people vary in the words they use to express

14   the incongruence between the sex they were assigned at birth and their innate gender identity.

15          55.     If a person’s sex assigned at birth is incongruent with their innate gender identity,

16   this can cause varying degrees of gender dysphoria, a serious medical condition. Gender

17   dysphoria is a medical diagnosis contained in the American Psychiatric Association’s Diagnostic

18   and Statistical Manual of Mental Disorders, fifth edition (DSM). The DSM defines gender

19   dysphoria as “a marked incongruence between one’s experienced/expressed gender and their

20   assigned gender” which is “associated with clinically significant distress or impairment in social,

21   occupational, or other important areas of functioning.”

22          56.     Gender dysphoria is readily treated with gender-affirming care. Gender-affirming

23   care for minors is well-established as the standard of care for treating gender dysphoria. The

24   level of evidence supporting clinical practice guidelines and recommendations regarding gender-

25   affirming care for adolescents is comparable to the level of evidence supporting many other

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 1   pediatric medical treatments, including treatments for pediatric obesity, congenital adrenal

 2   hyperplasia, and central precocious puberty.

 3          57.     The Endocrine Society, an international medical organization of over 18,000

 4   endocrinology researchers and clinicians, has published a clinical practice guideline for the

 5   treatment of gender dysphoria. These include puberty-blocking medications and gender-

 6   affirming hormone therapy.

 7          58.     Gender-affirming care is also the recommended treatment for gender dysphoria

 8   by the World Professional Association for Transgender Health’s (WPATH’s) Standards of Care

 9   for the Health of Transgender and Gender Diverse People which is currently in its 8th version

10   (SOC-8).

11          59.     Puberty-blocking medications may be prescribed to transgender or gender-

12   diverse adolescents at the onset of puberty to delay puberty. These help to prevent the

13   development of physical characteristics that conflict with the adolescent’s gender identity.

14          60.     Gender-affirming hormone therapy is the prescription of gender-affirming

15   hormones. The result of this therapy is that a transgender boy or man typically has the same

16   levels of circulating testosterone as other boys or men. Similarly, a transgender girl or woman

17   will typically have the same levels of circulating estrogen and testosterone as other girls or

18   women.

19          61.     Research and clinical experience both show that treating gender dysphoria in

20   adolescents with gender-affirming care is safe and effective. Patients receiving gender-affirming

21   care have high rates of satisfaction and low incidence of regret. Available studies report that

22   rates of regret for gender-affirming care is exceptionally low, between about 0.3 and 1.1

23   percent—much lower than, for example, knee replacements (10%), tattoos (16%), or having

24   children (7%). Based on longitudinal data and clinical experience, when transgender adolescents

25   are provided with gender-affirming care and have parental and social support, they are more

26   likely to thrive and grow into healthy adults.


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 1          62.     If left untreated, however, gender dysphoria can result in severe anxiety and

 2   depression, eating disorders, substance abuse, self-harm, and suicidality. According to one study,

 3   a staggering 82% of transgender individuals have considered suicide, and 40% have attempted

 4   it. Rates of suicidality are highest among transgender youth who do not receive gender-affirming

 5   care and lack community and parental support. In such circumstances, gender-affirming care is

 6   life-saving, medically necessary care. When transgender and gender-diverse youth have access

 7   to gender-affirming care and supportive communities, however, their rates of suicidality are on

 8   par with their cisgender peers. As one Washington healthcare professional puts it, “gender-

 9   affirming care is a life-giving treatment.”

10          63.     Patients under consideration for gender-affirming treatment work with providers

11   to ensure that each treatment decision is informed and appropriate. Like any other medical

12   intervention, this process is done thoughtfully and carefully with the patient and family in the

13   best interest of the adolescent. Physicians providing gender-affirming care must be trained and

14   qualified in gender identity concerns and participate in this care out of a desire to improve the

15   health and wellness of transgender and gender-diverse people and prevent negative outcomes

16   such as depression and suicide.

17          64.     Starting puberty-blocking medications in early puberty prevents adolescents with

18   gender dysphoria from developing secondary sex characteristics inconsistent with their gender

19   identity, for so long as the medication is taken. Development of such characteristics, like

20   deepening of the voice, hair growth, muscular changes, and breast development, can be

21   extremely distressing for them. Further, these characteristics may be difficult, if not impossible,

22   to reverse once the characteristics have fully developed. Adolescent patients experiencing

23   significant distress at the onset of puberty routinely have dramatic improvements in mood,

24   school performance, and quality of life with appropriate use of puberty-delaying medication.

25   One parent said of their child: “The minute the puberty blocker was in place she came back to

26   life. She became happy and had increased energy. She came back to being the person we knew


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 1   her to be.” Side effects are similar to those seen in patients treated with these medications for

 2   conditions other than gender dysphoria, such as precocious puberty, and are easily managed.

 3          65.     Gender-affirming hormone therapy is highly beneficial for both short-term and

 4   long-term psychological functioning of adolescents with gender dysphoria. Gender-affirming

 5   hormone therapy is associated with improvement in various mental health parameters including

 6   depression, anxiety, self-confidence, body image and self-image, and general psychological

 7   functioning. One physician noted that after receiving gender affirming care, her patients “appear

 8   to bloom”. Another “witness[es] adolescents who come in anxious, avoiding eye contact, and

 9   feeling heavy and hopeless, transform into patients feeling like they have hope.” One parent said

10   that since beginning hormone therapy their child is “thriving” and has “become so much

11   happier.” Another parent said hormone therapy is an “essential part” of her daughter’s health

12   and well-being and said “[s]eeing her happy again helped reassure me that my daughter was in

13   less danger of self-harm or suicide.”

14          66.     In the adolescent patient population, gender-affirming chest surgery (specifically

15   removal of breast tissue in transgender young men) may be recommended as part of an

16   individualized gender-affirming treatment plan for adolescents. Genital surgeries, however, are

17   reserved for adults (age 18 and older) and much less common.

18          67.     The Physician Plaintiffs see the benefit of gender-affirming in their practices.

19   Physician Plaintiff 1 had a patient who “was experiencing frequent suicidal ideation prior to

20   receiving puberty delaying medications and Testosterone, [and] is now president of his high

21   school class.” Physician Plaintiff 2 has patients who, when they begin to seek care, “don’t want

22   to leave their room or their house because they don’t feel comfortable in their bodies.” But with

23   gender-affirming care “they are like a new person—so much happier and engaged in life.”

24   Physician Plaintiff 3 describes a patient who was diagnosed with anorexia when they met,

25   because he was trying to “decrease his weight in order to stop his body from developing.” After

26   treatment with gender affirming care, he was able to complete an anorexia program and


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 1   “developed a regular exercise routine to gain muscle.” Now applying to college at Ivy League

 2   schools, Physician Plaintiff 3 “couldn’t be prouder of him.”

 3          68.     But Physician Plaintiffs have also seen the devastating impact caused by a lack

 4   of access to gender-affirming care. Physician Plaintiff 1 has treated patients who had to uproot

 5   their lives after the state they lived in banned gender-affirming care. “Many have left their

 6   communities and support systems abruptly and arrive in Washington with little support.”

 7   Physician Plaintiff 2 has “seen patients forced to undergo permanent puberty changes that did

 8   not align with their gender identity after losing access to puberty-delaying medications, which

 9   caused significant anxiety and depression and will likely require surgery in the future to reverse

10   the changes that occurred.”

11          69.     Washington State has an explicit policy to promote the availability of gender-

12   affirming care for those who need it. Wash. Rev. Code § 74.09.675 requires the Washington

13   State Health Care Authority and programs, and providers who offer services through the Health

14   Care Authority, to cover or offer gender-affirming care. Wash. Rev. Code § 48.43.0128 similarly

15   requires privately offered health plans issued or renewed on or after January 1, 2022, to cover

16   gender-affirming care. And the Washington Law Against Discrimination prohibits

17   discrimination in the provision of health-related services on the basis of gender identity or

18   expression. Wash. Rev. Code §§ 49.60.030(1), .040(2), .040(29), .215.

19          70.     Minnesota has similar policies. Coverage for gender-affirming care for its

20   Medicaid and MinnesotaCare programs is required by Minn. Stat. § 256B.0625, subd. 3a.

21   Commercial insurance plans are required to provide the same coverage through Minn. Stat.

22   § 62Q.585. The Minnesota Human Rights Act provides comprehensive protections in the areas

23   of employment, housing, public services, government services, education, provision of credit,

24   and business for Minnesotans and includes protections related to “gender identity,” as defined

25   by the Act. See Minn. Stat. §§ 363A.03, subd. 50; 363A.01 et seq. Minnesota enacted a suite of

26   robust protections through revisions and amendments to various laws in 2023, establishing


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 1   Minnesota as a “trans-refuge state,” prohibiting enforcement of out-of-state laws interfering in

 2   the provision of gender-affirming health care in Minnesota, reflecting the State’s policy to allow

 3   unrestricted access to medically-necessary health care. See Laws of Minnesota, 2023 (Reg.

 4   Session), Chap. 29 (Apr. 26, 2023).

 5          71.      Oregon also has an explicit policy to promote the availability of gender-affirming

 6   care. For example, Or. Rev. Stat. § 414.769 requires the Oregon Health Authority to cover and

 7   not deny medically necessary gender-affirming care. Or. Admin. Rule 836-053-0441 recognizes

 8   the World Professional Association for Transgender Health’s Standards of Care for the Health

 9   of Transgender and Gender Diverse People as the “accepted standards of care” and requires

10   private health benefit plans to cover or offer gender-affirming care. Or. Rev. Stat. § 659.875 also

11   prohibits discrimination in the provision of benefits and health benefit plans delivered in the

12   State of Oregon.

13   B.     UW School of Medicine and UW Medicine

14          72.      The University of Washington is a world-class research and educational

15   institution located in Seattle, Washington. It is an agency and instrumentality of Washington

16   State. Wash. Rev. Code. ch. 28B.20.

17          73.      UW includes the UW School of Medicine. The UW School of Medicine is a

18   leader in regional medical education and conducts world-leading research across 31 clinical and

19   biomedical research departments and multiple research institutes and centers with areas of focus

20   including behavioral health, neuroscience and Alzheimer’s disease, heart disease and stroke,

21   infectious diseases, cancer, health metrics, genomics and precision medicine, protein design and

22   regenerative medicine.

23          74.      In federal fiscal year 2024, UW School of Medicine received $494 million in

24   federal research grants, of which $388 million were direct awards and $105 million were

25   subcontracts.

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 1           75.     UW Medicine is an integrated clinical, research and learning health system with

 2   a single mission to improve the health of the public. UW Medicine is a family of organizations

 3   that are operated or managed as part of an integrated health system. These organizations include

 4   UW Medical Center (Montlake and Northwest campuses), UW Medicine Primary Care, the UW

 5   School of Medicine, UW Physicians, Harborview Medical Center, and Airlift Northwest.

 6           76.     UW Medicine strives to provide patient-centered and inclusive care to all

 7   patients, including transgender and gender non-binary patients.

 8           77.     UW Medicine’s Transgender and Gender Non-Binary Health Program provides

 9   gender-affirming medical care coordinated across a range of clinicians in the UW Medicine

10   system to its adult patients.

11           78.     The UW School of Medicine Department of Pediatrics trains pediatric-focused

12   clinicians and advances research to improve the health of all children and adolescents.

13   Department faculty physicians provide primary and specialty pediatric care, including gender-

14   affirming medical care, to minor patients when medically indicated and necessary to serve the

15   patients’ health needs.

16           79.     Gender-affirming medical care for patients under age 18 requires consent from a

17   parent or guardian that has medical decision-making rights for that patient, unless the patient is

18   an emancipated minor.

19   C.      Oregon Health & Science University

20           80.     The Oregon Health & Science University is a research and educational institution

21   located in Portland, Oregon. OHSU is a state-created public corporation that is an instrumentality

22   of the State of Oregon.

23           81.     OHSU has a long tradition of leading-edge research, and houses a robust research

24   program with more than 1,415 faculty investigators and 262 postdoctoral scholars, with faculty

25   including members of the National Academy of Science, National Academy of Medicine, and

26   National Academy of Inventors, the American Academy of Arts and Science, and recipients of


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 1   the Lasker-DeBakey Award for Clinica Medical Research. OHSU has conducted vital research

 2   in important areas of modern medicine with the aid of federal funding, including novel imagining

 3   of the glymphatic system critical for brain health; identifying a pivotal gene capable of blocking

 4   immune responses to important vaccines for disease including HIV, malaria, and certain types

 5   of cancer; and identifying whole brain circuit risk factors for the occurrence of ADHD in

 6   children, among many other federally funded research projects.

 7          82.     OHSU currently receives 1,209 federally funded grants. The loss of grant funding

 8   would impact at least 500 research programs and cause the loss of thousands of research staff

 9   positions, and hundreds of graduate students and postdoctoral fellows. OHSU also runs a

10   Graduate Medical Education program that is one of the largest training programs of its kind in

11   the country, training a total of 995 residents and fellows. This program depends upon federal

12   funding and would be at risk of losing the program without such funding, which would have

13   immediate impact upon Oregonians, as well as impact the future healthcare workforce.

14   D.     Physician Plaintiffs

15          83.     The Physician Plaintiffs provide gender-affirming care to minor patients. In doing

16   so, they spend a significant amount of time with patients and their families, discussing treatment

17   options and explaining their risks and benefits. The provider-patient relationship for gender-

18   affirming care is not transitory, and frequently lasts many years with visits multiple times a year.

19   The Physician Plaintiffs work hard to have close relationships with their patients and families

20   because treatment is most often successful when there is a deep level of trust and when the

21   providers understand the details of their patients’ lives, and how particular treatment options will

22   impact them. This constitutes a close personal relationship.

23          84.     Moreover, that relationship is durable not just with the particular provider treating

24   the patient, but also with the clinic providing the treatment. The Physician Plaintiffs may

25   “inherit” patients who worked with other providers at the same institution. Patients, parents of

26   patients, UW faculty physicians providing gender-affirming care, UW School of Medicine, and


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 1   community mental health therapists all form a close community committed to providing

 2   medically appropriate and necessary care for transgender and gender-diverse people.

 3          85.     As medical doctors, the Physician Plaintiffs have ethical obligations to offer the

 4   highest quality, evidence-based care to their patients. But the Order threatens the Physician

 5   Plaintiffs with criminal investigation and prosecution, and their medical institutions with the loss

 6   of all research or education grants, if they provide medically indicated gender-affirming care.

 7   E.O. 14,187 §§ 4, 8. The Order thus forces the Physician Plaintiffs into an impossible choice

 8   between exposing themselves and their colleagues to criminal investigation and prosecution and

 9   their employers to losing hundreds of millions in federal research grants, or forsaking their

10   ethical duties to their adolescent transgender and gender diverse patients by withholding access

11   to lawful and needed medical care. The Order further requires the Physician Plaintiffs to violate

12   their ethical obligations by requiring them to withhold medications from their transgender and

13   gender diverse patients but provide them to cisgender patients for similar health care needs.

14   Finally, there are instances where gender-affirming medical care can be life-saving for a patient.

15   It would be wholly at odds with the Physician Plaintiffs’ ethical obligations to require them to

16   withhold life-saving medical care from transgender or gender diverse youth.

17          86.     The Order violates the rights of the Physician Plaintiffs’ transgender and gender-

18   diverse patients. By restricting medical care that affirms a minor’s gender only where it is

19   different from their sex assigned at birth—the defining trait of being transgender—the Order

20   necessarily classifies and discriminates against these patients based on transgender status and

21   sex. Karnoski v. Trump, 926 F.3d 1180, 1200–01 (9th Cir. 2019) (applying heightened scrutiny

22   to discrimination based on transgender status); see also Hecox v. Little, 104 F.4th 1061, 1080

23   (9th Cir. 2024), as amended (June 14, 2024) (applying heightened scrutiny to discrimination

24   based on sex and transgender status). There is no justification for singling out gender-affirming

25   medical care for minors and criminalizing the medical decisions made by youth, their parents,

26   and their doctors.


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 1          87.     These patients are hindered from protecting their own interests by bringing

 2   lawsuits of their own for several reasons. Most are minors who lack capacity or financial

 3   resources to hire a lawyer to sue. Others may not be “out” at school or in their neighborhood as

 4   transgender or gender diverse, exposing them to privacy and safety risks. But most glaringly, the

 5   current targeting of the Physician Plaintiffs’ patients and their families by the federal government

 6   has created an atmosphere of terror for the vulnerable and comparatively powerless patients of

 7   the Physician Plaintiffs. The Order explicitly contemplates unleashing the force of the

 8   Department of Justice and felony criminal prosecutions on families for seeking care. E.O. 14,187

 9   § 8. Accordingly, the Physician Plaintiffs bring this litigation to vindicate their own rights as

10   well as the rights of their patients. See Singleton v. Wulff, 428 U.S. 106 (1976).

11   E.     Plaintiff States Closely Regulate the Medical Profession

12          88.     Washington licenses or otherwise establishes qualifications for physicians and

13   other medical professionals. E.g., Wash. Rev. Code ch. 18.71, ch. 18.79. It similarly licenses and

14   regulates hospitals. Wash. Rev. Code ch. 70.41. Medical professionals in Washington are also

15   subject to discipline by the Washington State Department of Health. Wash. Rev. Code

16   § 18.130.040. The provision of, authorization of, recommendation of, aiding in, assistance in,

17   referral for, or other participation in any reproductive health care services or gender-affirming

18   treatment consistent with the standard of care in Washington by a license holder does not

19   constitute unprofessional conduct subject to discipline. Wash. Rev. Code § 18.130.450.

20          89.     The Washington State Department of Health has, consistent with its statutory

21   authority from the State Legislature, enacted a series of professional standards governing

22   medical professionals. See generally Wash. Admin. Code Title 246. Washington actively

23   enforces these standards and regularly brings actions against medical providers who violate

24   Washington’s rules. See, e.g., Hiesterman v. Wash. State Dep’t of Health, 524 P.3d 693 (Wash.

25   Ct. App. 2022); Dang v. Wash. State Dep’t of Health, 450 P.3d 1189 (Wash. Ct. App. 2019);

26   Alsager v. Bd. of Osteopathic Med. & Surgery, 384 P.3d 641 (Wash. Ct. App. 2016).


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 1          90.       The State of Minnesota similarly regulates the practice of medicine in the state

 2   through its Board of Medical Practice. See Minn. Stat. ch. 147, 214. The Board is charged with

 3   licensing and regulating the practice of medicine, establishing and enforcing qualifications for

 4   licensure and standards of practice, and educating practitioners and the public. The Board

 5   may discipline     licensees   for   violations   of        the   Minnesota   Medical     Practice    Act.

 6   Minn. Stat. §§ 147.001–.381. The Board acts in this capacity as the sole authority on the

 7   licensure and regulator of physicians in the practice of medicine in the state. Gender-affirming

 8   care, including the provision of such care to individuals under the age of 19, is not prohibited by

 9   the Minnesota Medical Practice Act.

10          91.       Oregon licenses or otherwise establishes qualifications for physicians and other

11   medical professionals operating in the state. See generally Or. Rev. Stat. chapter 677; Or. Admin.

12   Rule chapter 847. Oregon similarly licenses and regulates hospitals. See Or. Admin. Rule chapter

13   333. Medical professionals are subject to regulation, oversight and discipline by Oregon. See

14   e.g. Or. Rev. Stat. § 675.070; § 675.540; § 675.745; § 677.190. The provision of, authorization

15   of, recommendation of, aiding in, assistance in, referral for, or other participation in any gender-

16   affirming care is consistent with the standard of care in Oregon. Or. Admin. Rule 836-053-0441.

17   Oregon law further protects medical professionals from being disciplined or adverse action by

18   malpractice insurers for providing gender-affirming care, or having their Oregon licensure

19   revoked based upon adverse action taken against them for providing gender-affirming care by

20   other states’ licensing bodies. Or. Rev. Stat. § 675.070; § 675.540; § 675.745; § 676.313; §

21   677.190.

22          92.       The Oregon Health Authority and Oregon Medical Board, consistent with their

23   state statutory authority, promulgate and enforce rules for professional medical standards in the

24   State of Oregon.

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 1   F.      The Order

 2           93.     On January 28, 2025, President Trump issued Executive Order 14,187 titled

 3   “Protecting Children from Chemical and Surgical Mutilation.” By “chemical and surgical

 4   mutilation,” President Trump referred to medically appropriate and necessary gender-affirming

 5   care, including puberty-delaying medication, gender-affirming hormone therapy, and gender-

 6   affirming surgical interventions.

 7           94.     The Order’s language is gratuitous and abhorrent. It refers to widely accepted,

 8   medically appropriate care as “mutilation” and accuses medical providers who provide often

 9   life-saving care of “maiming and sterilizing . . . impressionable children.” E.O. 14,187 § 1. And

10   worst of all, it directly attacks transgender youth (which it defines as those under 19 years of

11   age) and their families, claiming they are being misled, that their lived experiences of gender

12   dysphoria are “radical and false,” and suggests their very existence is “a stain on our Nation’s

13   history.” Id.

14           95.     Although couched in the language of protecting children, the Order does exactly

15   the opposite. It hurts transgender and gender diverse children and their families.

16           96.     The Order’s dangerous rhetoric is coupled with explicit threats of criminal

17   prosecution for medical providers and parents.

18           97.     The Order asserts, contrary to all evidence, that gender-affirming care results in

19   adverse medical outcomes and that patients ultimately regret their choice to receive gender-

20   affirming care. Id. It asserts in Section 3, again without a shred of evidence, that the medical

21   consensus that gender-affirming care is safe and effective, and that gender identity is an innate

22   trait that may differ from one’s sex assigned at birth, is “junk science.” Id. § 3.

23           98.     The Order states that “it is the policy of the United States that it will not fund,

24   sponsor, promote, assist, or support the so-called ‘transition’ of a child from one sex to another,

25   and it will rigorously enforce all laws that prohibit or limit these destructive and life-altering

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 1   procedures.” Id. § 1. By “destructive and life-altering procedures,” the Order refers to medically

 2   appropriate and necessary gender-affirming care.

 3          99.     In furtherance of this policy, designed explicitly to target transgender and gender-

 4   diverse youth and their providers and make it more difficult for them to receive the care they

 5   need, Section 4 of the Order directs “[t]he head of each executive department or agency [] that

 6   provides research or education grants to medical institutions, including medical schools and

 7   hospitals” to “immediately take appropriate steps to ensure that institutions receiving Federal

 8   research or education grants end “gender-affirming care for children.” E.O. 14,187 § 4.

 9          100.    Section 4 of the Order is effective immediately by its terms. Id. Moreover,

10   President Trump and his administration proved their willingness to cut federal funding with little

11   or no notice when, on January 27, 2025, the Office of Management and Budget issued a

12   memorandum directing federal agencies to pause all federal funding by the next day. And on

13   January 29, 2025, the Office of Personnel Management instructed all federal agencies to

14   “[r]eview all agency programs, contracts, grants, and terminate any that promote or inculcate

15   gender ideology.” This directive was set to go into effect by 5:00 p.m. Eastern Standard Time.

16   The effort was only stopped by an emergency injunction issued by a federal court. New York v.

17   Trump, Temporary Restraining Order, Case No. 25-cv-39-JJM-PAS (D.R.I. Jan. 31, 2025).

18          101.    Indeed, health care providers in the State of Washington and State of Oregon

19   received notices from the Department of Health and Human Services, Health Resources &

20   Services Administration, that stated they must cease to use federal funds in a way that conflicts

21   with the Order. Even after the entry of a Temporary Restraining Order by the U.S. District Court

22   for the District of Rhode Island in New York v. Trump, Case No. 1:25-cv-00039-JJM-PAS, the

23   Department of Health and Human Services commanded State health care providers to cease all

24   “activities that do not align with Executive Orders” including explicit citation to the Order

25   challenged here.

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 1           102.    Section 4 of the Order seriously harms the Plaintiff States’ medical institutions

 2   by conditioning the receipt of all federal funds on the cessation of medically appropriate and

 3   necessary medical care. Section 4 of the Order is coercive in its effect on the Plaintiff States and

 4   its medical institutions.

 5           103.    This coercion is plainly unlawful. Congress has not conditioned even one dollar

 6   of the $494 million in federal research and education grants to the UW School of Medicine or

 7   the $413 million to OHSU on the denial of gender-affirming care to youths. Similarly, no such

 8   conditions exist for federal research and education grants to Oregon public entities, including

 9   Oregon Health & Science University.

10           104.    Section 8(a) of the Order also immediately threatens providers and families in the

11   Plaintiff States. It directs the Attorney General to “review Department of Justice enforcement of

12   section 116 of title 18, United States Code, and prioritize enforcement of protections against

13   female genital mutilation.” E.O. 14,187 § 8(a).

14           105.    18 U.S.C. § 116 makes it a federal crime to perform female genital mutilation on

15   another person or for a parent or guardian to facilitate or consent to female genital mutilation.

16   Conviction under this statute carries a federal prison sentence of up to ten years. 18 U.S.C.

17   § 116(a).

18           106.    18 U.S.C. § 116 defines female genital mutilation as “any procedure performed

19   for non-medical reasons that involves partial or total removal of, or other injury to, the external

20   female genitalia.” 18 U.S.C. § 116(e) (emphasis added).

21           107.    To be clear, genital surgery is not performed on transgender minors. But the Order

22   threatens to weaponize this federal statute against puberty blocking medication and hormone

23   therapy, which it defines as “chemical mutilation.” In doing so, the Order attempts to redefine

24   these medically necessary treatments as federal crimes.

25           108.    Lawful, state-regulated, medically appropriate and necessary gender-affirming

26   care is not female genital mutilation under 18 U.S.C. § 116. Nonetheless, the Order directs the


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 1   U.S. Department of Justice to target families and gender-affirming care providers of transgender

 2   and gender-diverse youth criminal investigations. E.O. 14,187 § 8.

 3           109.     These effects are already being felt—as intended. Despite its facial illegality, the

 4   Order nonetheless has already coerced providers and medical institutions to halt gender-

 5   affirming care. Carla K. Johnson, et. al, Some hospitals pause gender-affirming care to evaluate

 6   Trump’s executive order, AP News (Jan. 30, 2025) (reporting on institutions in Virginia,

 7   Colorado, the District of Columbia reducing or stopping care even for existing patients because

 8   of the Order) 2; see also Mira Lazine, Handful of Hospitals Complying with Trump’s Illegal

 9   Order to Stop Trans Care Under 19 Years Of Age, Erin in the Morning (Feb. 2, 2025) (similar) 3;

10   Emily Alpert Reyes, Children’s Hospital L.A. stops initiating hormonal therapy for transgender

11   patients under 19, L.A. Times (Feb. 4, 2025) (reporting Children’s Hospital of Los Angeles is

12   pausing the initiation of hormonal therapy for gender affirming care patients under the age of 19

13   to review the Order). 4 President Trump issued a press release listing the cancellation of gender-

14   affirming care by health care providers in New York, Colorado, Virginia, Washington D.C.,

15   Illinois, and Pennsylvania claiming that the Order was “already having its intended effect.”

16           110.     And the effects are also being felt by providers in Washington. Seattle Children’s

17   Hospital is a renowned research, training, and clinical hospital in Seattle that was awarded nearly

18   $185 million in federal research grants in 2024 alone. Seattle Children’s federally funded

19   research contributes to significantly to improved health outcomes for children across the country,

20   including improving treatment of cystic fibrosis, cancer, and Type I diabetes. As part of its

21   clinical program, Seattle Children’s also provides gender-affirming care. The loss of federal

22   grant funding as a result of the Executive Order would be an existential threat to Seattle

23   Children’s, threatening both the research and clinical missions of the institution, as well as the

24           2
                 Available at: https://apnews.com/article/transgender-trump-executive-order-hormones-hospitals-
     8d9e6b94b34d2e6f890c06ebeba0fe1d.
25          3
              Available at: https://substack.com/home/post/p-156322780.
            4
              Available at: https://www.latimes.com/california/story/2025-02-04/childrens-hospital-to-stop-initiating-
26   hormonal-therapy-for-trans-patients-under-19.


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     AND INJUNCTIVE RELIEF                                                           800 Fifth Avenue, Suite 2000
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                                                                                            (206) 464-7744
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 1   patients it serves as the top-ranked pediatric hospital in all of Washinton, Alaska, Montana, and

 2   Idaho. The Executive Order is creating an emergency situation at Seattle Children’s, exerting

 3   tremendous pressure on the institution to stop providing gender-affirming care, or risk all of its

 4   other research, teaching, and care programs. As a result of the Executive Order, Seattle

 5   Children’s patients and families are panicking, scared that a loss of care would damage young

 6   patients’ mental health, physical health, and safety.

 7          111.    And while on Wednesday, February 5, 2025, the Health Resources & Services

 8   Administration, a subagency of the Department of Health and Human Services, rescinded a stop

 9   work order it issued on Friday, January 31, 2025, that itself had relied on the Order, this only

10   further fuels a climate of chaos and fear in which medical institutions, researchers, and

11   physicians do not know what the federal government is going to do next. In fact, on the very

12   same day the stop work order was rescinded, Children’s Hospital Colorado ceased providing all

13   gender-affirming medication, fearing the loss of federal funding. Meg Wingerter, Children’s

14   Hospital Colorado Stops Offering Gender-Affirming Medication Because of Trump Order,

15   Denver Post (Feb. 5, 2025).

16          112.    Effects are being felt in Plaintiff States today. For example, a pharmacy in

17   Spokane is refusing to fill AndroGel prescriptions for transgender and gender-diverse patients.

18   Upon information and belief, the Order has caused a medical institution in Washington to pull

19   down information about gender-affirming care—making it difficult for families to access

20   information about such care. This is especially urgent because, as Physician Plaintiff 3 writes,

21   “[a]ny interruption in puberty-blocking medications is an immediate risk for irreversible physical

22   changes, emotional distress and depression.”

23          113.    One Washington provider, going only by their initials to avoid retaliation by the

24   federal government and threats of violence by the President’s supporters, has “deep concern that

25   this EO would require [them] to withhold medically-necessary, lifesaving care.” Another, also

26   using pseudonyms, is “worried for [their] own safety since the EO targeting gender-affirming


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 1   care was released[,]” and is “more reticent to diagnose [their] patients with gender dysphoria,

 2   even if it is the most accurate diagnosis.” Even if providers are willing to risk prosecution by the

 3   federal government, patients and their families may not be. According to one provider, “the

 4   Executive Order has already caused nearly half of my adult transgender clients to halt or slow

 5   their plans to medically or socially transition.”

 6            114.   Transgender youth and their parents are similarly terrified of the Order’s threats

 7   to eliminate life-saving care, as well as prosecute parents and providers. Transgender and gender-

 8   diverse youth report fears of their worlds “going dark” if they cannot receive the care they need.

 9   And parents of transgender youth are preparing to split their families apart to leave the country

10   rather than letting their children fall back into suicidality experienced before gender-affirming

11   care.

12            115.   The serious concerns over how the Order will detrimentally impact transgender

13   youth cannot be overstated. One Washingtonian, as her parents describe her, was a bright and

14   gentle soul who loved playing musical instruments, trying new things, and playing Magic the

15   Gathering. She was excited to learn Japanese and the impact of gender-affirming care was

16   immediately clear to her family. Her parents described that “her joy was clear with every new

17   milestone in her transition. She was so happy to get to the next step, to get closer to presenting

18   in a way that was true to herself.” But the day before the presidential election, she shared,

19   “[t]omorrow I get to find out if I’m illegal.” After the election, she asked her parents if they

20   could move to Canada because she was fearful of new restrictions on transgender youth and

21   worried about losing access to gender-affirming care. In January 2025, she took her life. After

22   the Order issued, her parents expressed that the outlook for transgender futures looks scary and

23   shared fears of what ending gender-affirming care would have meant for their daughter’s access

24   to therapy, puberty-delaying medication, hormones, and hope of surgery. Her parents have

25   expressed fear for the many lives who depend on gender-affirming care and that what happened

26   to their daughter does not happen to any other children.


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 1           116.    The Order challenged here is consistent with the President’s other executive

 2   orders targeting and punishing transgender and gender-diverse people for their gender identities.

 3   On January 20, 2025, President Trump signed Executive Order 14,168 titled “Defending Women

 4   from Gender Ideology Extremism and Restoring Biological Truth to the Federal Government.”

 5   That order declares “[i]t is the policy of the United States to recognize two sexes, male and

 6   female. These sexes are not changeable and are grounded in fundamental and incontrovertible

 7   reality.” Exec. Order No. 14,168, 90 C.F.R. 8615. It defines “sex” to mean “an individual’s

 8   immutable biological classification as either male or female. ‘Sex’ is not a synonym for and does

 9   not include the concept of ‘gender identity.’” Id. § 2(a). It further defines “Gender Ideology” as

10   a theory which asserted the “false claim that males can identify as and thus become women and

11   vice versa.” Id. § 2(f). In so doing, the order attempts to define out of existence transgender and

12   gender-diverse people, whose gender is not the sex they were assigned at birth. These definitions

13   must “govern all Executive interpretation of and application of Federal law and administration

14   policy.” Id. § 2.

15           117.    And on January 27, 2025 (one day before the Order challenged here was issued),

16   the President issued Executive Order 14,183 titled “Prioritizing Military Excellence and

17   Readiness.” This order declares “expressing a false ‘gender identity’ divergent from an

18   individual’s sex cannot satisfy the rigorous standards necessary for military service.” Exec.

19   Order No. 14,183, 90 C.F.R. 8757. It proclaims that being transgender or gender diverse

20   “conflicts with a soldier’s commitment to an honorable, truthful, and disciplined lifestyle” and

21   that “[a] man’s assertion that he is a woman, and his requirement that others honor this falsehood,

22   is not consistent with the humility and selflessness required of a service member.” Id., § 1. The

23   order directs the Secretary of Defense to reverse the current accession and retention standards

24   for military service and to adopt instead a policy that transgender status is incompatible with

25   “high standards for troop readiness, lethality, cohesion, honesty, humility, uniformity, and

26   integrity.” Id. § 2.


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 1            118.   And just this past Wednesday, on February 5, 2025, the President signed a new

 2   Executive Order titled “Keeping Men Out of Women’s Sports.” The order targets transgender

 3   student-athletes by, inter alia, directing the Department of Justice to prioritize enforcement of

 4   Title IX against educational institutions that permit transgender athletes to participate in

 5   women’s sports and athletic events and further directing all agencies to review grants to

 6   educational programs to rescind funding from institutions who do not comply with the Executive

 7   Order.

 8            119.   In this context, providers of gender-affirming care have no choice but to take

 9   President Trump seriously when he threatens to cut off all federal funding and charge them with

10   federal crimes for simply providing medically appropriate and necessary care for their patients.

11   And similarly, parents of transgender and gender-diverse youth must take him at his word when

12   he threatens to charge them for facilitating such care for their children.

13                                    V.      CAUSES OF ACTION

14                            Count 1: Fifth Amendment Equal Protection

15            120.   Plaintiffs re-allege and incorporate the above as if set forth fully herein.

16            121.   Transgender and gender-diverse individuals are fully protected by the equal

17   protection guarantee of the Fifth Amendment, and regulations targeting them for discriminatory

18   treatment are subject to heightened scrutiny. Hecox, 104 F.4th at 1074.

19            122.   The Order makes classifications based on transgender status and sex, which

20   triggers heightened scrutiny.

21            123.   The Order facially discriminates against transgender and gender-diverse people

22   by stigmatizing, defunding, and purporting to criminalize health care that is lawful, state-

23   regulated, medically appropriate and necessary, and specific to their health needs, while the same

24   care is provided to cisgender people for other purposes. The Order discriminates against

25   transgender and gender-diverse people on its face.

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 1           124.      The Order cannot survive heightened scrutiny. Heightened scrutiny requires “that

 2   the challenged classification serves important governmental objectives and that the

 3   discriminatory means employed are substantially related to the achievement of those objectives.”

 4   Hecox, 104 F.4th at 1081 (quoting U.S. v. Virginia, 518 U.S. 515, 533 (1996)). The federal

 5   government’s burden of justification is a demanding one.

 6           125.      The Order serves no important government interest. It appears to serve no interest

 7   at all save to communicate official, presidentially directed animus against transgender and

 8   gender-diverse people, their medical providers, and their families.

 9           126.      In light of its animus, and its total departure from and disregard for the scientific

10   consensus, the Order would not survive even rational basis scrutiny. See Romer v. Evans, 517

11   U.S. 620, 632 (1996).

12                                      Count 2: Separation of Powers

13           127.      Plaintiffs re-allege and incorporate the above as if set forth fully herein.

14           128.      Section 4 of the Order constitutes a condition on the receipt of federal funds by

15   the Plaintiff States’ medical institutions which by its terms is effective immediately.

16           129.      The Constitution vests Congress with the spending power, not the President.

17   U.S. Const. art. I § 8, cl. 1.

18           130.      The Constitution vests Congress with the authority to condition spending, not the

19   President. U.S. Const. art. I § 8, cl. 1.

20           131.      The Constitution provides “a single, finely wrought and exhaustively considered,

21   procedure” through which “the legislative power of the Federal government [may] be exercised,”

22   I.N.S. v. Chadha, 462 U.S. 919, 951 (1983), namely, through majority votes of both chambers

23   of Congress and the signature of the President. U.S. Const. art. I § 7.

24           132.      None of the funds received by the Plaintiff States’ medical institutions have a

25   congressionally authorized condition requiring them to refrain from the provision of gender-

26   affirming care.


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 1          133.    In fact, federal law prohibits the Plaintiff States’ medical institutions from

 2   discriminating against individuals on the basis of their gender dysphoria for the purposes of

 3   participating in the services provided by these institutions and funded with federal financial

 4   assistance. 29 U.S.C. § 794.

 5          134.    The President’s Executive Order, which conditions the receipt of federal funds

 6   by the Plaintiff States’ medical institutions on denying patient gender-affirming care, is an

 7   unconstitutional usurpation of the spending power of Congress, an unconstitutional effort to

 8   amend Congressional appropriations by attaching conditions not contemplated by Congress, and

 9   a violation of the separation of powers. See City & Cnty. of San Francisco v. Trump, 897 F.3d

10   1225, 1245 (9th Cir. 2018).

11                                    Count 3: Tenth Amendment

12          135.    Plaintiffs re-allege and incorporate the above as if set forth fully herein.

13          136.    The Tenth Amendment provides that “[t]he Powers not delegated to the United

14   States by the Constitution, nor prohibited by it to the States, are reserved to the States

15   respectively, or to the people.” U.S. Const. amend. X. The President has no enumerated power

16   to regulate the practice of medicine or to criminalize medical practices. Nor has he been

17   authorized by Congress to do so.

18          137.    The Plaintiff States have the sovereign power to regulate the practice of medicine

19   and establish the standards of care for the practice of medicine in their States. The regulation of

20   the practice of medicine and establishment of the standards of care for the practice of medicine

21   is a core, traditional area of state concern, which the federal government has historically not

22   regulated.

23          138.    The Order regulates the practice of medicine without congressional authorization.

24   The Order defines gender-affirming care as “chemical and surgical mutilation” and orders the

25   Department of Justice to prosecute cases of gender-affirming care as “female genital mutilation”

26   under 18 U.S.C. § 116.


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 1          139.    Where Congress wishes to intrude on an area of where states have used their

 2   police powers to regulate a matter of local concern, such as the regulation of health care, it must

 3   do so clearly in unmistakable terms. Gonzales v. Oregon, 546 U.S. 243, 274 (2006).

 4   18 U.S.C. § 116 does not in clearly unmistakable terms, or in any terms, regulate or criminalize

 5   the practice of medicine in the United States.

 6          140.    It is a violation of the Tenth Amendment for Defendants to direct the enforcement

 7   of 18 U.S.C. § 116 against medical providers for offering and parents for consenting to medically

 8   appropriate and necessary gender-affirming care authorized in the Plaintiff States.

 9                                   VI.    PRAYER FOR RELIEF

10          WHEREFORE, the Plaintiffs pray that the Court:

11          a.      Declare that Sections 4 and 8(a) of the Order are contrary to the Constitution and

12   laws of the United States;

13          b.      Temporarily restrain and enjoin Defendants from implementing or enforcing

14   Sections 4 and 8(a) of the Order, pending further orders from this Court;

15          c.      Pursuant to Federal Rule of Civil Procedure 65(b)(2), set an expedited hearing

16   within fourteen (14) days to determine whether this Court should enter a preliminary injunction

17   or the Temporary Restraining Order should be extended;

18          d.      Preliminarily and permanently enjoin Defendants from implementing or

19   enforcing Sections 4 and 8(a) of the Order;

20          e.      Declare Sections 4 and 8(a) of the Order unconstitutional; and

21          f.      Award such additional relief as the interests of justice may require.

22          DATED this 7th day of February 2025.

23                                                    NICHOLAS W. BROWN
                                                      Attorney General of Washington
24
                                                      /s/ William McGinty
25                                                    WILLIAM MCGINTY, WSBA #41868
                                                      CYNTHIA ALEXANDER, WSBA #46019
26                                                    TERA HEINTZ, WSBA #54921


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                                                                            Complex Litigation Division
     AND INJUNCTIVE RELIEF                                                  800 Fifth Avenue, Suite 2000
                                                                                Seattle, WA 98104
                                                                                   (206) 464-7744
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 1                                     ANDREW R.W. HUGHES, WSBA #49515
                                       NEAL LUNA, WSBA #34085
 2                                     CRISTINA SEPE, WSBA #53609
                                       LUCY WOLF, WSBA #59028
 3                                     Assistant Attorneys General
                                       800 Fifth Avenue, Suite 2000
 4                                     Seattle, WA 98104-3188
                                       (360) 709-6470
 5                                     William.McGinty@atg.wa.gov
                                       Cynthia.Alexander@atg.wa.gov
 6                                     Tera.Heintz@atg.wa.gov
                                       Andrew.Hughes@atg.wa.gov
 7                                     Neal.Luna@atg.wa.gov
                                       Cristina.Sepe@atg.wa.gov
 8                                     Lucy.Wolf@atg.wa.gov
                                       Attorneys for Plaintiff State of Washington
 9
                                       /s/ Lauryn K. Fraas
10                                     LAURYN K. FRAAS, WSBA #53238
                                       COLLEEN MELODY, WSBA #42275
11                                     Assistant Attorneys General
                                       800 Fifth Avenue, Suite 2000
12                                     Seattle, WA 98104-3188
                                       (360) 709-6470
13                                     Lauryn.Fraas@atg.wa.gov
                                       Colleen.Melody@atg.wa.gov
14                                     Attorneys for Physicians Plaintiffs 1-3

15
                                       KEITH ELLISON
16                                     Attorney General of Minnesota

17                                     /s/ James W. Canaday
                                       JAMES W. CANADAY, MSBA #030234X*
18                                     Deputy Attorney General
                                       445 Minnesota St., Ste. 600
19                                     St. Paul, Minnesota 55101-2130
                                       (651) 757-1421
20                                     james.canaday@ag.state.mn.us
                                       Attorneys for Plaintiff State of Minnesota
21

22

23

24

25

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                                                              Complex Litigation Division
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                                                                  Seattle, WA 98104
                                                                     (206) 464-7744
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 1                                     DAN RAYFIELD
                                       Attorney General of Oregon
 2
                                       /s/ Allie M. Boyd
 3                                     ALLIE M. BOYD, WSBA #56444
                                       Senior Assistant Attorney General
 4                                     Trial Attorney
                                       1162 Court Street NE
 5                                     Salem, OR 97301-4096
                                       (503) 947-4700
 6                                     allie.m.boyd@doj.oregon.gov
                                       Attorneys for Plaintiff State of Oregon
 7
                                       *pro hac vice application forthcoming
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                                                               Complex Litigation Division
     AND INJUNCTIVE RELIEF                                     800 Fifth Avenue, Suite 2000
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